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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




 HON. PAULINE NEWMAN,

                    Plaintiff,                        Case No. 1:23-cv-01334-CRC

          v.

 HON. KIMBERLY A. MOORE, et al.,

                    Defendants.


               JOINT STATEMENT ON SUGGESTION OF MEDIATION
       On July 6, 2023, the Court held a status conference with attorneys for the parties. The

Court requested that by July 7, 2023, the parties file a notice responding to the Court’s medi-

ation proposal.

       The parties appreciate the Court’s suggestion and are willing mediate expeditiously

without concurrent motions practice. The parties prefer that the mediation involve informal

procedures that will allow the mediation to move quickly, with mediation submissions (if any)

or a first mediation date as early as the week of July 17. If such an informal arrangement is

possible, the parties respectfully request that the Court hold the parties’ joint proposed briefing

schedule (ECF No. 14) in abeyance; the parties would then file a joint status report within

two days of the mediation’s conclusion. If such an informal arrangement is not possible, the

parties state as follows:

       Plaintiff’s position

       Plaintiff agrees to and welcomes the opportunity to mediate this dispute with the me-

diator previously suggested by the Court, provided that the proposed briefing schedule, see

ECF 14, is not delayed by longer than two weeks, or in the alternative, absent a briefing




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schedule, that Judge Newman is restored to the argument calendar no later than the October

term of the Federal Circuit.

        Defendants’ position

        Defendants appreciate the Court’s offer to refer this matter to mediation in lieu of liti-

gating Plaintiff’s preliminary-injunction motion. But Defendants are unable to agree to either

of the conditions demanded by Plaintiff. With respect to the briefing schedule, Defendants

believe that mediation should be pursued only as an alternative to litigating Plaintiff’s prelim-

inary-injunction motion. Proceeding to litigate (and potentially decide) that motion while

also pursuing mediation would be an inefficient and duplicative use of the parties’, the

Court’s, and the mediator’s time and resources. Defendants are willing to pursue mediation

if further proceedings in this Court are held in abeyance during the pendency of those media-

tion efforts, but otherwise object to mediation.

DATED: July 7, 2023                                 Respectfully submitted,

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